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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division



     Amazon.Com,Inc., et al.

                             Plaintiffs,
             V.


                                                                 Case No. l:20-cv-00484
     WDC Holdings LLC,et al.                                     Hon. Liam O'Grady
                             Defendants.



                                                ORDER


         This matter comes before the Court on the Joint Objection to Notice of Grounds for

  Judicial Disqualification. Dkt. 463. The Court held a telephonic hearing on this matter on

  Thursday, January 6,2022.

         For the reasons stated during the hearing, the Court believes that recusal is not required

  under 28 U.S.C. § 455(a) as there is no evidence that the Court has not been impartial in its

  rulings to date, or would not be impartial in its decisions in the future. Moreover, the Court

  believes that it properly declined to recuse itself under § 455(f).

         However, perception of the fair administration ofjustice - both by the public and by the

  parties in the case - is of the highest importance to the Court. Also importantly, my learned and

  honest colleagues should not have to suffer possible criticisms that might target them and me by

  those who do not understand the issues involved, if 1 were to decide not to recuse myself.

         Therefore, I reluctantly recuse myself and the case will be reassigned.

          It is SO ORDERED.



  January \0 ,2022                                               Liam
  Alexandria, Virginia                                           United States District Judge
